          Case 1:19-vv-00741-UNJ Document 33 Filed 09/24/20 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-741V
                                        UNPUBLISHED


    TINA COPPERSMITH,                                       Chief Special Master Corcoran

                        Petitioner,                         Filed: August 24, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.

James Vincent Lopez, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT 1

       On May 17, 2019, Tina Coppersmith filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that that she suffered a Shoulder Injury Related to
Vaccine Administration (SIRVA) as a result of her March 30, 2018 influneza (“flu”)
vaccination. Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

       On August 24, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent indicates that


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
         Case 1:19-vv-00741-UNJ Document 33 Filed 09/24/20 Page 2 of 2




       [i]t is Respondent’s position that Petitioner suffered SIRVA as defined by
       the Vaccine Injury Table. Specifically, Petitioner had no recent history of
       pain, inflammation, or dysfunction of her left shoulder that would explain the
       alleged signs, symptoms, examination findings and/or diagnostic studies
       occurring after vaccine injection; the onset of pain occurred within forty-eight
       hours after receipt of an intramuscular vaccination; the pain was limited to
       the shoulder in which the vaccine was administered; and, no other condition
       or abnormality has been identified to explain Petitioner’s left shoulder pain.

Id. at 4-5 (citing 42 C.F.R. §§ 100.3(a), (c)(10).) Respondent further agrees that
“Petitioner suffered the residual effects of her condition for more than six months.” Id. at
5 (citing 11(c)(1)(D)(i)).

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                    s/Brian H. Corcoran
                                    Brian H. Corcoran
                                    Chief Special Master




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